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Jason R.N. Monteleone, ISB#: 5441
JOHNSON & MONTELEONE, L.L.P.
350 N. 9™ St., ste. 500

Boise, Idaho 83702

Telephone: (208) 331-2100

Facsimile: (208) 947-2424
Jason@treasurevalleylawyers.com

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
IN AND FOR THE DISTRICT OF IDAHO

 

DAVID M GRANT,
Plaintiff
Vv.

BENJAMIN KEY, in his official and
individual capacities, CITY OF
FRUITLAND, a political subdivision of
the State of Idaho, FRUITLAND CITY
POLICE DEPARTMENT, a department
of the City of Fruitland, J.D. HUFF, in his
individual and official capacity, CITY OF
PAYETTE, a political subdivision of the
State of Idaho, PAYETTE POLICE
DEPARTMENT, a department of the City
of Payette, BEN BRANHAM, in his
individual and official capacity, DUANE
HIGLEY, in his individual and official
capacity, MARK CLARK, in his
individual and official capacity, JOHN or
JANE DOES #1-10, whose true identifies
are presently unknown, and other
Employees of the City of Fruitland, the
City of Payette, or Payette County,

Defendants

 

Case No.

COMPLAINT
JURTY TRIAL

AND DEMAND FOR

 

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COMES NOW Plaintiff, David M. Grant, by and through his attorney of record,
Jason R.N. Monteleone of Johnson & Monteleone, L.L.P., and herewith alleges, avers,

claims, and states as follows as to causes of actions against Defendants:

INTRODUCTORY STATEMENT
1. This is a civil rights action pursuant to 42 U.S.C. § 1983, filed by Plaintiff for
violations of his right to be free from the use, by law enforcement officers, of the excessive
use of lethal force, pursuant to the Fourth and Fourteenth Amendments to the United States
Constitution and to be free from harm attributed to an unlawful conspiracy to conceal the

use of excessive force.

JURISDICTION AND VENUE

2. This Court has subject matter jurisdiction over Plaintiff's claims of violations of his
federal, constitutional rights pursuant to 28 U.S.C. §§1331 and 1343. This action is
authorized and instituted pursuant to 42 U.S.C. §1983 and 42 U.S.C. §12132, et seq.

3. The actions complained of herein took place in Payette County, Idaho, which is
within the jurisdiction of the United States District Court for the District of Idaho, in that
one or more of Defendants reside(s) in Idaho and have sufficient minimum contacts with
this District to warrant personal jurisdiction here, and Plaintiff's claims for relief arose in

this District. Accordingly, personal jurisdiction and venue in this District are proper under

28 U.S.C. §1391.

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PARTIES
4, Plaintiff, DAVID GRANT (hereinafter “Grant”), is a person over the age of 18
who, at the time of the incidents described herein was a citizen of the state of Idaho and of
the United States.
5. Defendant, BENJAMIN KEY (hereinafter “Key”), was at all times relevant hereto,
acting under the color of state law as an employee and police officer of the Fruitland City
Police Department. Defendant Key is sued in his individual and official capacities.
6. Defendant, CITY OF FRUITLAND (hereinafter “Fruitland”), is a political
subdivision of the state of Idaho. As a local, governmental entity, Fruitland is a suable
person under 42 U.S.C. §1983. At all times relevant to this Complaint, Fruitland employed
Key through the Fruitland City Police Department and also several of the Doe Defendants.
At all times relevant to this Complaint, Key and the Doe Defendants were acting pursuant
to Fruitland’s laws, customs, and/or policies. As the employer of Key and the Doe
Defendants, Fruitland is vicariously liable for all of the tortious and unconstitutional acts
and omissions of Key and the Doe Defendants, committed within the course and scope of
their employment.
7. Defendant, FRUITLAND CITY POLICE DEPARTMENT (hereinafter “FPD”), is
a department within Fruitland.
8. Defendant, J.D. HUFF (hereinafter “Chief Huff’), was, at the time of the relevant
events, and now is the chief of the FPD. Defendant Huff is sued in his individual and

official capacities.

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9, Defendant, BEN BRANHAM (hereinafter “Branham”), was at all times relevant
hereto, acting under the color of state law as an employee and police officer of the Payette
Police Department. Defendant Branham is sued in his individual and official capacities.
10. Defendant DUANE HIGLEY, (hereinafter “Higley’”), was at all times relevant
hereto, acting under the color of state law as a reserve police officer of the Payette Police
Department. Defendant Branham is sued in his individual and official capacities.

11. Defendant, CITY OF PAYETTE (hereinafter “‘Payette”), is a political subdivision
of the state of Idaho. As a local governmental entity, Payette is a suable person under 42
U.S.C. §1983. At all times relevant to this Complaint, Payette employed Branham and
several of the Doe Defendants and employed, supported, and/or sponsored Higley through
the Payette Police Department. At all times relevant to this Complaint, Branham, Higley,
and the Doe Defendants were acting pursuant to Fruitland’s laws, customs, and/or policies.
As the employer of Branham, Higley and the Doe Defendants, Payette is vicariously liable
for all of the tortious and unconstitutional acts and omissions of Branham, Higley, and the
Doe Defendants, committed within the course and scope of their employment.

12. Defendant, PAYETTE POLICE DEPARTMENT (hereinafter “PPD”), is a
department within Payette.

13. Defendant, MARK CLARK (hereinafter “(Chief Clark”), was, at the time of the
relevant events, and now is the chief of the PPD. Defendant Clark is sued in his individual
and official capacities.

14. Defendants, JOHN AND/OR JANE DOES #1-10 (“the Doe Defendants”), whose
true identities are presently unknown, were at all times herein members of the law

enforcement departments named herein and employed by Fruitland, Payette, or Payette

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County. At all material times, the Doe Defendants and Payette County were acting under
the color of state law. The Doe Defendants are each sued in their individual and official
capacities. Payette County is sued as an entity responsible as the employer of one or more
of the Doe Defendants and/or for failing to properly train and supervise the conduct of the
Defendants herein. All Doe Defendants are sued as a result of their involvement in the
circumstances set forth herein and will be identified and named as party-defendants herein,
if necessary, as discovery is obtained. Conversely, the Doe Defendants are individuals or
entities, political, corporate, or otherwise, whose true identities are unknown at the present
time, but who engaged in activities and conduct set forth herein. Alternatively, John/Jane
Does I through X are individuals or entities who are now, or at the material and operative
times were, the agents, employees, independent contractors, subdivisions, franchisees,
wholly-owned subsidiaries, or divisions of Defendants herein, or are individuals or entities

acting on behalf of, or in concert with, the other Defendants named herein.

FACTUAL BACKGROUND
15. On October 24, 2016, while Grant, who has bipolar disorder, was in the throes of a
manic episode, , when he initiated a trip from near Lewiston, Idaho, where he was living
to Nampa, Idaho, where his friend, Pamela Johnson, lived.
16. At approximately 11:30 p.m. on October 24, 2016, Grant was driving through the
City of Payette and southbound on Highway-95, when his driving pattern brought him to
the attention of Defendant Branham and caused Defendant Branham, accompanied by

Defendant Higley, to attempt to execute a traffic stop on Grant.

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17. Grant did not stop in response to Defendant Branham’s actions and, as a result, Key
became involved and deployed a “spike strip” in the vicinity of Centennial Mall in the City
of Fruitland.

18. Grant struck the spike strip and, as a result, the two tires on the passenger side of
his car were damaged and deflated, but, despite this damage, Grant did not stop and
Branham and Higley continued to pursue Grant with lights flashing and siren blaring. This
was not a high-speed chase or pursuit.

19. After Grant struck the spike strip, Key removed the strip from the street and got
into his patrol car and joined the pursuit. Approximately 1.5 miles further south on
Highway-95, Key overtook the vehicle driven by Branham and became “primary” in the
pursuit of Grant, while Branham followed closely behind; Branham did not comply with
his commanding officer’s direction that he stay in the “primary” position instead of
yielding it to Key.

20. The video image recorded by the dash camera in Key’s vehicle failed to record the
speed of the pursuit, but it demonstrated that Grant was maintaining his lane of travel,
slowing down when in the vicinity of traffic, and using his turn signals appropriately.
Based upon the timer visible in the video images, Key pursued Grant as the “primary” for
approximately 170 seconds and they traveled about 2.6 miles in that time for an average
speed of about 55 miles per hour.

21. As Grant approached the intersection of Interstate-84 with Highway-95, he became
confused, as he was following the directions from the global positioning unit (“GPS”) unit
in his vehicle and, after signaling his intention to do so, he turned left onto the westbound

exit ramp at Interchange 3 of Interstate-84 on the north side of that interstate road.

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22. As Grant was signaling to turn left onto the exit ramp, both Grant’s and Key’s
vehicles slowed down substantially, and then Key pulled to the left of Grant’s vehicle in
an apparent attempt to pull alongside of Grant’s vehicle, but Grant slightly accelerated and
was able to turn across Key’s path. Their respective speeds were low enough that this
maneuver did not pose any significant risk of injury or property damage for either of them.
23. Immediately upon starting to enter the exit ramp, Grant saw the one-way sign and
realized his error. He applied his brakes and attempted a U-turn by moving to the south
side of the ramp and turned back toward the north side of the ramp. He was only able to
complete about 1/2 of the U-turn before his front left tire crossed the north-side fog line
and he stopped momentarily.

24. As Grant came to a stop, Key pulled his vehicle forward until it his right, front
bumper was nearly touching Grant’s left, rear quarter panel and began to get out of his
vehicle. Seconds before Key exited his vehicle, Grant begin to drive his vehicle back and
forth and to steer his vehicle so that, over the course of three, back-and-forth maneuvers,
Grant was faced back up the exit ramp in the correct direction.

25. A few seconds after Grant started to maneuver his vehicle around the front of Key’s
patrol vehicle, Key was out of his vehicle with his gun drawn and pointed at Grant. As
Grant did this, Key begin yelling profanity-laced commands at Grant with obviously
intense and threatening mannerisms and emotions? At about this same time, Branham
parked his vehicle further to the east and got out with his weapon drawn and moved into a
position east of and slightly north of Key, and Branham directed Higley toward the back

of Grant’s vehicle

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26. The last time Grant stopped to shift from reverse to drive, Key stepped forward to
the left side of Grant’s vehicle in an effort to open the door but at all other times he was
clearly not at risk of any contact with Grant’s vehicle, because it was turning around the
front end of the patrol vehicle which intervened in Key’s position.

27. As Key let go of the door handle and reached out to touch the base of the driver’s
side window, Grant began to roll slowly forward toward the east along the guardrail and
past Key. As he begin to roll away, Key fired four to five rounds into the driver-side
window and/or rear window of Grant’s vehicle from a distance of between 5 to 8 feet.

28. The shots that were fired caused life-threatening and debilitating injuries such that
it is doubtful Grant was thereafter in complete control of his vehicle, which accelerated
slightly and followed the guard rail around to the north and traveled a short distance, before
it went off of the road and came to a stop along the median and/or against the guardrail.
29. The use of a firearm constitutes the use of lethal force and, pursuant to the
established policy of Fruitland and/or FPD, is clearly and strictly prohibited, when used to
fire at a moving vehicle. Even without this written policy, properly-trained officers would
not, except in the most exigent of circumstances, employ a firearm to alter the behavior of
the driver of a moving car, especially when other officers or members of the public may be
nearby. Shooting a driver does not mean the car will stop and is, in fact, more likely to
lead to out-of-control, unpredictable driving and/or loss of control of the vehicle. In
addition, when bullets hit automobile glass, they often change direction and consequently
pose a threat of injury for nearby officers or civilians.

30. The circumstances confronting Key were not and could not have been perceived by

an adequately trained and reasonable officer as exigent and warranting the use of lethal

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force, because, among other things, the crime of eluding is not one which typically justifies
the use of lethal force, Grant’s driving pattern after his tires had been spiked and for the
approximately three minutes he was being followed by Key was relatively normal and
certainly not inherently dangerous, the traffic he would be driving in was very light, his
tires had been spiked and would soon shred leaving him driving on metal rims which leads
to the car being disabled, stopping, or being susceptible to being pushed off the road or
trapped by a Pursuit Intervention Technique (“PIT”) maneuver, Key was not himself in
danger, as he could and did easily avoid getting in position to be injured, Key did not have
a clear idea of where Branham was located and could not therefore assess the risk that
shooting would have posed to Branham, Branham was not in harm’s way or other danger
at the time of the shooting, and there were several, other officers en route to the scene at
the time Key fired on Grant.

31. As a direct result of the conduct of Defendants, Grant has suffered grave physical
injuries requiring extensive and expensive medical care for the treatment of those injuries
and to provide him with daily care and assistance with performing the activities of daily
living for the rest of his life necessitated by the quadriplegia resulting from damage to his
spinal cord caused by one or more of the bullets fired by Key. The cost of this medical
care, both past and future, will be proven at the time of trial but substantially exceeds
$250,000.00 and will continue to accrue on a daily basis for the rest of Grant’s life, as his
quradriplegia caused by the firing is permanent.

32. As a direct result of the conduct of Defendants, Grant has suffered grave, emotional
injury, pain, and suffering, His ability to enjoy life has been impaired by these physical

and emotional injuries, his physical pain and the overwhelming limitations upon his ability

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to function as a result of the quadriplegia resulting from damage to his spinal cord caused
by one or more of the bullets fired by Key. The appropriate compensation for these
circumstances will be proven at the time of trial.

33.  Asadirect result of the conduct of Defendants, Grant has suffered a loss of earning
capacity both during his initial period of recovery and from the reality that he has no chance
of obtaining and maintaining gainful employment due to his quadriplegia from this
shooting incident. The appropriate compensation for lost income and lost earning capacity
will be proven at the time of trial.

34. Key, Branham, Higley, and one or more of the other Defendants or the Doe Defendants
have given statements and testimony which greatly distort and hyperbolize the threat posed
by Grant’s actions to one or more of them or to the public. They have done so in a concerted
attempt to advance the common objective of concealing the wrongfulness of the use of
lethal force upon Grant in this case and to thereby insulate Key and other responsible
Defendants from liability to Grant for causing him permanent quadriplegia as a result of
employing excessive, lethal force to execute a simple traffic stop and by firing upon Grant’s
vehicle, as it was moving, which violates Defendants’ own written policies.

35. By reason of the concerted efforts of Defendants, Grant has been placed at risk of
suffering a loss of or serious damage to his claim for injury resulting from the use of
excessive force.

36.  Atall times relevant hereto, Fruitland and Chief Huff and Payette and Chief Clark
were legally responsible for the management of their respective Police Departments,
including establishing and implementing policies, procedures and protocols governing the

conduct of police officers.

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37. At all times relevant hereto, Fruitland and Chief Huff and Payette and Chief Clark
were legally responsible for responsible for screening, hiring, training and supervising their

employees.

FIRST CLAIM FOR RELIEF

(Excessive Use of Lethal Force — 42 U.S.C. §1983: Violations of the Fourth and
Fourteenth Amendments to the United States Constitution Asserted Against All

Defendants)
38.  Plaintiffincorporates by reference paragraphs 1 through 37 as though fully set forth
herein.
39. The wrongful conduct of Key, Branham, Higley, the FPD, Fruitland, the PPD, and
Payette constitute violations under the color of state law and 42 U.S.C. §1983, in that, with
deliberate and callous indifference to a known, constitutional right, Defendants deprived
Grant of the rights, privileges, and/or immunities secured by the Constitution of the United
States.
40. Grant was entitled to be safe and secure from undue and unreasonable force and to
be free from the improper and excessive use of lethal force.
41. The acts and omissions of Defendants in using excessive, lethal force on Grant, in
this police-shooting incident, violated the requirements of the Fourth Amendment and
Fourteenth Amendment rights held by Grant to be free from the excessive, unconstitutional
use of force, particularly lethal force.
42. The specific actions of Defendants, acting under color of state law and also
individually and/or in concert with each other, alleged to be violations of Grant’s protected,

constitutional rights are more particularly set forth as follows:

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a. Defendants used excessive, lethal, physical force against Grant, which
caused him to be permanently paralyzed as a quadriplegic;

b. Defendants knew or should have known that actions utilizing significantly
less force could and should have been used to effectively execute this traffic stop;

c. Defendants failed to utilize an objectively reasonable assessment of the
facts, when they decided to shoot Grant and use lethal force against him: and

d. None of the law enforcement officers attempted to use a degree of force less
than lethal force and the choice to use such lesser degree of force would have been
objectively reasonable under the circumstances and as they would have been perceived by
a reasonable law enforcement officer faced with these same or similar circumstances.
43, The unreasonableness of Defendants’ use of excessive, lethal force under these
circumstances is well-defined by existing law and by the established policies of the FPD
and the PPD, and each Defendant knew or reasonably should have known that their conduct
was not only well below the standard prescribed by law but was illegal and unconstitutional
per se.
44, As a result of the violations of the constitutional standards set forth herein, Grant
has suffered the injuries described above and has suffered both economic and noneconomic
damages and will continue to suffer such damages in the future. The extent of Plaintiffs’
damages will be more fully proven at trial.
45. Grant has been required to hire attorneys to represent him in this matter and is thus

entitled to an award of reasonable attorney fees and costs pursuant to 42 U.S.C. §1988.

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SECOND CLAIM FOR RELIEF
(Conspiracy to Conceal Unlawful, Unconstitutional Conduct -- Violations of 42
U.S.C. §1983: Violations of the Fourth and Fourteenth Amendments to the United
States Constitution Asserted Against All Defendants)
46. Plaintiffs incorporate by reference paragraphs 1 through 45 as though fully set forth
herein.
47. By engaging in a concerted effort to conceal the wrongfulness of the excessive use
of lethal force upon Grant, Key, Branham, Higley, the FPD, Fruitland, the PPD, and
Payette have engaged in violations, while acting under the color of state law and in
violation of 42 U.S.C. §1983, in that, with deliberate and callous indifference to the truth,
they are attempting to deprive Grant of his constitutional claims arising from the use of
excessive, lethal force all of which is contrary to Grant’s established rights, privileges,
and/or immunities secured by the Constitution of the United States.
48. Grant was entitled to be safe and secure from suffering a deprivation of due process
and of the right to recover damages for valid, constitutional claims by virtue of distorted,
hyperbolic, and disingenuous statements and testimony by law enforcement officers, law
enforcement agencies, and/or governmental entities acting in concert with one another.
49. The acts and omissions of Defendants in conspiring to conceal the illegal use of
excessive, lethal force on Grant violated the rights and requirements of the Fourth and
Fourteenth Amendments held by Grant to due process of law.
50. The specific actions of Defendants, individually and in concert with each other,
alleged to be violations of Grant’s protected, constitutional rights in conspiring to deny him

due process of law include:

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a. Claims by Branham that he was fearful for Key’s safety, because he could
have been pulled under Grant’s car, which claims are directly controverted by the available
video footage from the law enforcement officers on the scene;

b. Claims by Key that he was fearful of being hit by Grant, which claims are
directly controverted by the available video footage from the law enforcement officers on
the scene.

C. Claims by Key that he had to shoot Grant to try to protect Branham from a
car that was speeding away, when he also claims to not have known, where Branham was
at the time of the shooting and when available video footage from law enforcement officers
demonstrates that Key shot Grant before Grant’s vehicle had begun to slowly move away
from Key; and

d. Preliminary hearing testimony by Branham that he had to “dive” out of the
way of Grant’s accelerating vehicle despite the fact that he told officers who interviewed
him, within twenty-four (24) hours of the incident, that he had simply stepped back out of
the way before the vehicle had begun to slowly move away from Key.

51. The unreasonableness of these concerted attempts to conceal the use of excessive,
lethal force is well defined by existing law, which each Defendant knew or reasonably
should have known and which demonstrated that their conduct was not only well below
the standard prescribed by law but was illegal and unconstitutional per se.

52. As a result of the violations of the constitutional standards set forth herein, Grant
has suffered psychologic and emotional injuries and potentially monetary injury by virtue
of having his claims for damages compromised by Defendants’ conspiracy to defeat those

claims, and he would not have suffered these psychologic and emotional damages or the

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damage to his reputation associated with being charged with a serious felony offense
against police officers, which he did not commit..
53. Grant has been required to hire attorneys to represent him in this matter and is thus

entitled to an award of reasonable attorney fees and costs pursuant to 42 U.S.C. §1988.

THIRD CLAIM FOR RELIEF
(Monell Liability)

54. Plaintiffs incorporate by reference paragraphs 1 through 53 as though fully set forth
herein.
55. Fruitland, the FPD, Payette, and the PPD either adopted an official policy, had a
longstanding practice or custom which constituted a policy, or ratified actions, which
ratification amounted to a policy, in violation of Grant’s constitutional right to be free from
the excessive use of lethal force and to be free from damages as a result of the concerted
effort to deprive him of due process of law.
56. Fruitland, the FPD, Chief Huff, Payette, the PPD, and Chief Clark failed to
appropriately train their law enforcement forces regarding individual’s constitutional rights
to be free from the excessive use of lethal force and to be free from damages as a result of
a concerted action to deprive him of due process of law.
57. Fruitland, the FPD, Chief Huff, Payette, the PPD, and Chief Clark failed to exercise
appropriate care in the hiring, training, and supervising of law enforcement officers so as
to insure their officers would be capable of making rational decisions in the course of
performing their duties relative to the use of lethal force and relative to faithfully and

truthfully reporting the unlawful conduct of other law enforcement officers.

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58. Said Defendants’ failure to properly hire, train, and supervise their law enforcement
officers amounts to deliberate indifference to the rights of persons with whom these law
enforcement officers came into contact, to wit, Grant.

59. Had Key, Branham, and Higley been properly hired, trained, and supervised
regarding the use of lethal force, Grant would not have suffered the injuries inflicted upon
him by the bullets fired by Key, and had they been properly hired, trained, and supervised
to not conspire with others to conceal the unlawful use of lethal force by making claims
that result in criminal prosecution of the victims, Grant would not have been charged or
bound over for a crime he did not commit and, as a consequence, he would not have
suffered the psychologic and emotional distress and damage to his reputation associated
with being charged with a serious felony offense against law enforcement officers.

60. Asaresult of said Defendants’ deficient hiring, training, and supervising practices,
policies, and customs, Grant was wrongfully, gravely, and permanently injured, will be a
quadriplegic for the remainder of his life, and has suffered substantial, economic and
noneconomic damages in an amount which will be proven at trial.

61. | Grant has been required to hire attorneys to represent him in this matter and is thus

entitled to an award of reasonable attorney fees and costs pursuant to 42 U.S.C. §1988.

PRAYER FOR RELIEF
A. On all claims for relief, Plaintiff prays for judgment finding that his protected
constitutional rights were violated;

B, A finding that Defendants used excessive, lethal force on Plaintiff;

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C. A finding that Defendants engaged in an unlawful conspiracy to conceal the use of
excessive, lethal force on Plaintiff and to cause him to be wrongfully charged with
a serious felony offense against law enforcement officers;

D. For general and special damages against all Defendants in amounts to be
determined at trial;

E. An award of all other damages which this Court finds just, equitable and proper inn
the premises; and

F, An award of Plaintiff's reasonable attorney fees and costs against all Defendants.

VL
DATED: This Z‘f day of September, 2018.

JOHNSON & MONTELEONE, L.L.P.

Qagon R, N, Kieaislomn
Attorneys for Ptaintiff——

    
 

DEMAND FOR JURY TRIAL
Pursuant to F.R.C.P. 38(b), Plaintiff demands a jury trial on all questions of fact

or combined questions of law and fact raised by this Complaint and/or properly triable to

a jury in this matter.

Ya
DATED: This 2+ day of September, 2018.

JOHNSON & MONTELEONE, L.L.P.

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